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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO


Civil Action No. 1:17-cv-01525-MSK

MARK WILSON, an individual, and WILSON LAW LTD., a Colorado limited liability
company,

      Plaintiffs,

v.

ADVISORLAW LLC, a Colorado limited liability company, DOCHTOR DANIEL
KENNEDY, an individual, and STACY SANTMYER, an individual.

      Defendants.


      MOTION FOR SANCTIONS UNDER RULES 26(g)(3) AND 37(c)(1)


      Under Fed. R. Civ. P. 26(g)(3) and 37(c)(1), Plaintiff and Counterdefendant Mark

Wilson and Plaintiff Wilson Law Ltd. (Plaintiffs) move this Court to sanction Defendant

Dochtor Kennedy and Defendant and Counterclaimant AdvisorLaw LLC (Defendants).

      To deceive the Plaintiffs, delay litigation, and needlessly increase litigation

expenses and costs, the Defendants falsely asserted in discovery responses that Mr.

Kennedy did not publish Ripoff Report 1336305 and that Jason Bacher, a nonparty,

published it as part of a complicated, conspiratorial scheme. They never corrected or

supplemented their false discovery responses. The Defendants are a Colorado lawyer and

a Colorado law firm. Their discovery deception deserves the harshest sanctions.


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I.     CONFERRAL

       On February 27, 2018, undersigned counsel sent Defendants’ counsel an email

containing business records AT&T produced on February 26, 2018, in response to the

Plaintiffs’ subpoena for documents dated January 18, 2018. Exhibit 1. In that email,

undersigned counsel asked Defendants’ counsel to “[p]lease let me know this week if Mr.

Kennedy decides to admit that he wrote and published Ripoff Report 1336305 while he

was at his home on November 2, 2016.” Id. Defendants’ counsel did not respond.

       On February 28, 2018, undersigned counsel sent Defendants’ counsel an email to

which a letter titled “Notice of Dochtor Kennedy’s and AdvisorLaw LLC’s Criminal

Misconduct” was attached. Exhibit 2. In the attached letter, undersigned counsel wrote:

“If you know of any reasons why Mr. Kennedy or AdvisorLaw LLC should not be

sanctioned for violating the federal rules of civil procedure and laws prohibiting perjury

during this litigation, please call me to explain them or respond to this letter in writing by

March 7, 2018.” Id. Defendants’ counsel did not respond.

       Undersigned counsel presumes this motion will be opposed.

II.    BACKGROUND

       On June 22, 2017, the Plaintiffs sued the Defendants for harms the Plaintiffs

suffered after the Defendants published Ripoff Report 1336305 on November 2, 2016. (#

1). The Plaintiffs filed their First Amended Complaint on July 14, 2017. (# 11). On




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December 22, 2017, the same day undersigned counsel deposed Mr. Kennedy, the

Defendants filed their Second Amended Answer and Counterclaims (# 49).

       The Plaintiffs and the Defendants have been business competitors since October 1,

2016. (# 28 at 7)1. During the afternoon of November 2, 2016, Mr. Kennedy sent Mr.

Wilson an email explaining he was upset to learn that Mr. Wilson and Wilson Law Ltd.

had been competing against Mr. Kennedy and AdvisorLaw LLC. (# 11 at ¶ 33; # 28 at 7).

About an hour and a half later, Mr. Kennedy sent Mr. Wilson an email that accused the

Plaintiffs of trying to steal business from the Defendants. (# 11 at ¶ 35; # 28 at 8). A few

hours later, posing as a fictitious person named Patrick Erickson, the Defendants

published Ripoff Report 1336305 at approximately 8:23 p.m. Colorado time, which was

7:23 p.m. Arizona time. (# 11 at ¶ 38). The Report contains several defamatory per se

statements about the Plaintiffs. (# 11 at ¶ 178; # 28 at 8).

       The Plaintiffs brought eight claims for relief. Three are germane to this motion.

The Plaintiffs alleged the Defendants 1) violated the Lanham Act’s false advertising

provision (15 U.S.C. § 1125(a)(1)(B)) (# 11 at ¶¶ 118 – 151), 2) violated the Colorado

Consumer Protection Act (C.R.S. §§ 6-1-105(1)(h) and (3)) (# 11 at ¶¶ 166 – 175), and 3)

tortiously defamed the Plaintiffs (# 11 at ¶¶ 176 – 183) when the Defendants published

Ripoff Report 1336305 knowing its derogatory statements about the Plaintiffs were false.


1The Court’s September 13, 2017, Scheduling Order (# 28) contains 31 undisputed facts
on pages 7 through 9.

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       AdvisorLaw LLC alleged Mr. Wilson and at least four nonparty conspirators

agreed to cause Jason Bacher, a nonparty, to publish Ripoff Report 1336305 on November

2, 2016, and, then, Mr. Wilson perjuriously filed pleadings for this action that falsely

accused the Defendants of publishing Ripoff Report 1336305, so Mr. Wilson and the other

conspirators could help one another harm the Defendants’ business. See (#49 at

Counterclaim ¶¶ 17 – 30).

       AdvisorLaw LLC, the Counterclaimant, brought five counterclaims against

Plaintiff Mark Wilson. (# 49). It alleged Mr. Wilson 1) conspired with the nonparties (#49

at Counterclaim ¶¶ 68 – 73), 2) violated the Colorado Organized Crime Control Act

(three claims) (#49 at Counterclaim ¶¶ 74 – 88); and 3) aided and abetted the

nonparties’ alleged tortious conduct (#49 at Counterclaim ¶¶ 89 – 96).

III.   UNDISPUTED FACTS

1.     Mr. Kennedy has been the attorney of record and AdvisorLaw LLC the law firm of

       record for at least 111 separate state court judicial proceedings between April 6,

       2017, and March 6, 2018. See Exhibit 3.

2.     AdvisorLaw LLC is an “entity … through which a lawyer or lawyers render legal

       services.” See Colo. RPC 1(c).

3.     Coordinated Universal Time (UTC) is the primary time standard by which the

       United States regulates time. See 15 U.S.C. § 261.




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4.    Colorado observes daylight saving time, or Mountain Daylight Time (MDT)

      (UTC–6), between the second Sunday of March and the first Sunday of

      November. See C.R.S. § 2-4-109(2). The rest of the year, Colorado observes

      Mountain Standard Time (MST)(UTC–7).

5.    Arizona only observes MST (UTC–7). See A.R.S. § 1-242.

6.    The Ripoff Report website uses Arizona time, MST, as its “posting time.” (#11-1

      at 10).

7.    Ripoff Report 1336305 was published on November 2, 2016. (# 28 at 8).

8.    It was published at 7:23 p.m. Arizona time, MST (#11-1 at 10).

9.    It was published at 8:23 p.m. Colorado time, MDT. See C.R.S. § 2-4-109(2).

10.   The account used to publish Ripoff Report 1336305 was created at approximately

      7:21 p.m. Arizona time, which was 8:21 p.m. Colorado time. Exhibit 4 at

      PLAINTIFF0518.

11.   The Internet Protocol (IP) address assigned to the computer used to create the

      account that published Ripoff Report 1336305 was 24.52.34.175. Id.

12.   Mr. Kennedy’s residential address was 9426 Juniper Way, Arvada, Colorado 80007

      on November 2, 2016. Exhibit 5 at PLAINTIFF000554.

13.   TDS Broadband Service LLC provided internet services to Mr. Kennedy’s

      residence on November 2, 2016. Exhibit 4 at PLAINTIFF0519.




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14.   Mr. Kennedy’s residence used IP address 24.52.34.175 between 8:21 p.m. and 8:25

      p.m. Colorado time on November 2, 2016. Id.

15.   Mr. Bacher used the phone number (970) 389-1685 on November 2, 2016. Exhibit

      1 at PLAINTIFF000526 – 528; Exhibit 4 at 25:11 – 26:11.

16.   Mr. Kennedy used the phone number (720) 432-1413 on November 2, 2016.

      Exhibit 5 at PLAINTIFF000554.

17.   AT&T business records prove Mr. Kennedy, while using phone number (720) 432-

      1413, and Mr. Bacher, while using phone number (970) 389-1685, exchanged text

      messages between 8:09 p.m. and 9:20 p.m. Colorado time on November 2, 2016.

      Exhibit 1 at PLAINTIFF000545 – 547.

18.   Partial transcripts for text messages Mr. Kennedy and Mr. Bacher exchanged on

      November 2, 2016, reflect the contents and times of text messages Mr. Kennedy

      and Mr. Bacher exchanged between 8:09 p.m. and 9:05 p.m. Colorado time on

      November 2, 2016. Exhibit 4 at DDK00000444 – 445.

19.   During his December 22, 2017, deposition, Mr. Kennedy confirmed Mr. Bacher

      was not at Mr. Kennedy’s home between 8:09 p.m. and 9:05 p.m. Colorado time

      on November 2, 2016. Exhibit 4 at 25:11 – 27:7.

20.   Mr. Kennedy did not send Mr. Bacher any text messages for at least forty-one

      minutes, between 8:13 p.m. and 8:54 p.m. Colorado time on November 2, 2016.

      Exhibit 1 at PLAINTIFF000545; Exhibit 4 at DDK00000444.

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21.   During his December 22, 2017, deposition, Mr. Kennedy confirmed JaYoung

      Kennedy, his wife, did not publish Ripoff Report 1336305 when he said: “I’m 100

      percent sure my wife did not publish it.” Exhibit 4 at 23:19 – 22.

22.   On September 1, 2017, the Plaintiffs served Mr. Kennedy “Plaintiffs’

      Interrogatories for Dochtor Kennedy.” Interrogatory 4 asked Mr. Kennedy to

      “[s]tate the email address, display name, real name, and mailing address

      combination for each Ripoff Report account you used to publish statements via the

      Ripoff Report website during the past five years. For your reference, the Ripoff

      Report account registration webpage may be accessed online at

      http://www.ripoffreport.com/go/register.” Exhibit 6.

23.   On October 9, 2017, Mr. Kennedy falsely responded “[n]one” to Interrogatory 4.

      Exhibit 7.

24.   Mr. Kennedy never corrected his false response to Interrogatory 4.

25.   On January 2, 2018, the Plaintiffs served AdvisorLaw LLC “Plaintiffs’

      Interrogatories for AdvisorLaw LLC.” Interrogatory 12 asked AdvisorLaw LLC to

      “[p]lease explain, in detail, the terms of the agreement “to harm AdvisorLaw’s

      business and/or to unlawfully gain an unfair competitive advantage over

      AdvisorLaw” AdvisorLaw LLC described in Allegation 69 of its Counterclaim (see

      Doc. 49, page 26) into which Mark Wilson allegedly entered with Charles Sisk,

      Tosh Grebenik, and Bridget Schaan.”

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26.    On February 6, 2018, AdvisorLaw LLC, in a verified response that Mr. Kennedy

       signed, falsely responded “Sisk conspired with Jason Bacher to publish the Ripoff

       Report.” Exhibit 9.

27.    AdvisorLaw LLC never corrected its false response to Interrogatory 9.

28.    On January 2, 2018, the Plaintiffs served AdvisorLaw LLC “Plaintiffs’

       Interrogatories for AdvisorLaw LLC.” Interrogatory 12 asked AdvisorLaw LLC to

       “[p]lease explain, in detail, how Mark Wilson helped Jason Bacher publish Ripoff

       Report #1336305.” Exhibit 8.

29.    On February 6, 2018, AdvisorLaw LLC, in a verified response that Mr. Kennedy

       signed, falsely responded “[k]nowing that Bacher is/was extremely unstable and

       likely to lash out in a way that Wilson/Sisk could later try to tie back to AdLaw,

       Sisk provoked Bacher until Bacher attacked Wilson by publishing the RoR.”

       Exhibit 9.

30.    AdvisorLaw LLC never corrected its false response to Interrogatory 12.

IV.    ANALYSIS

       A. The Defendants must be sanctioned under Rule 26(g)(3) for falsely responding
          to discovery requests and failing to correct them.

       Rule 26(g)(1)(B)(ii) explains a “party certifies that to the best of the person’s

knowledge, information, and belief formed after a reasonable inquiry” that his or its

discovery response is “not interposed for any improper purpose, such as to harass, cause



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unnecessary delay, or needlessly increase the cost of litigation” when the party signs for

the response. Fed R. Civ. P. 26(g)(1)(B)(ii). Rule 26(g)(3) requires courts to “impose an

appropriate sanction on the signer, the party on whose behalf the signer was acting, or

both” if he or it violated Rule 26(g)(1)(B)(ii) “without substantial justification.” Fed R.

Civ. P. 26(g)(3). “Rule 26(g)(3) gives the judge discretion over the nature of the sanction

but not whether to impose one.” Rojas v. Town of Cicero, 75 F.3d 906, 909 (7th Cir. 2015).

“Sanctions under Rule 26(g)(3) are not discretionary if the district court finds that a

discovery filing was signed in violation of the rule.” See e.g. McHugh v. Olympia Entm’t,

Inc., 37 F. App’x 730, 741 (6th Cir. 2002).

       Undisputed forensics evidence proves the Defendants published Ripoff Report

1336305 at Mr. Kennedy’s home between 8:21 p.m. and 8:25 Colorado time on November

2, 2016. They used the IP address TDS Broadband Services LLC assigned to Mr.

Kennedy’s home on November 2, 2016.

       Mr. Kennedy confirmed Mr. Bacher was not at Mr. Kennedy’s home when the two

men began to exchange text messages at 8:09 p.m. Colorado time on November 2, 2016.

Mr. Kennedy also confirmed he and Mr. Bacher would not have sent one another text

messages between 8:09 p.m. and 9:05 p.m. Colorado time on November 2, 2016, had they

both been at Mr. Kennedy’s home during that time.

       Their text message exchange began at 8:09 p.m. Colorado time and ended at 9:20

p.m. Colorado time according to AT&T business records. During the exchange, Mr.

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 Kennedy did not send Mr. Bacher a text message between 8:13 p.m. and 8:54 p.m. This

 gave Mr. Kennedy ample time to 1) write the text for Ripoff Report 1336305 before 8:21

 p.m.; 2) create a Ripoff Report account using the fictitious name of Patrick Erickson at

 approximately 8:21 p.m.; and 3) publish the text for Ripoff Report 1336305 sometime

 between 8:23 p.m. and 8:25 on November 2, 2016.

        Mr. Kennedy confirmed Mrs. Kennedy did not publish Ripoff Report 1336305. He

 was “100 percent sure” Mrs. Kennedy did not do it because he knew he did it.

        The evidence gathered in the case, including Mr. Kennedy’s deposition testimony,

 irrefutably proves Mr. Kennedy is the only person who could have published Ripoff

 Report 1336305.

        Mr. Kennedy co-owns AdvisorLaw LLC. Everything Mr. Kennedy knows

 AdvisorLaw LLC also knows. The Defendants have known Mr. Kennedy published Ripoff

 Report 1336305 since November 2, 2016.

        Every signed discovery response the Defendants produced that asserted they did

 not publish Ripoff Report 1336305 or that asserted Mr. Bacher published Ripoff Report

 1336305 violated Rule 26(g)(1)(B)(ii). The Defendants produced two such discovery

 responses on February 6, 2018.

        The Defendants’ unjustified Rule 26(g)(1)(B)(ii) violations harmed the Plaintiffs.

 It caused them to needlessly waste resources searching for additional forensics evidence,




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 preparing additional discovery questions, and communicating with the Defendants’

 counsel about discovery issues related to who published Ripoff Report 1336305.

        Mr. Kennedy has made at least 111 appearances in Colorado’s state courts, each

 time listing AdvisorLaw LLC as the Colorado law firm through which he provides his

 legal services to AdvisorLaw LLC’s clients. Before Mr. Kennedy and AdvisorLaw LLC

 could represent clients in any of those 111 judicial proceedings, Mr. Kennedy had to take

 the Colorado Attorney Oath of Admission. When he took that Oath, Mr. Kennedy swore

 to adhere to the Colorado Rules of Professional Conduct. Mr. Kennedy’s and AdvisorLaw

 LLC’s deceptive litigation conduct violated Colo. RPC 3.1, 3.2, 3.4(a), 3.4(b), 3.4(c),

 3.4(d), 5.1(a), 8.3(a), 8.4(a), 8.4(b), 8.4(c), 8.4(d), and 8.4(h).

        Since the Defendants’ conduct was not justified and it harmed the Plaintiffs, Rule

 26(g)(3) requires this Court to sanction the Defendants for violating Rule 26(g)(1)(B)(ii).

        B. The Defendants must be sanctioned under Rule 37(c)(1) for producing false
           discovery responses and failing to correct them.

        Rule 37(c)(1) requires courts to sanction parties who fail to provide information as

 required by Rule 26(e) “unless the failure was substantially justified or is harmless.” Fed

 R. Civ. P. 37(c)(1). Rule 26(e)(1)(A) requires parties who have responded to interrogatories

 or requests for admission to correct their responses “in a timely manner if the party learns

 that in some material respect the disclosure or response is incomplete or incorrect, and if

 the additional or corrective information has not otherwise been made known to the other



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 parties during the discovery process or in writing.” Fed R. Civ. P. 26(e)(1)(A). Rule

 37(c)(1) authorizes courts to use any of the following sanctions: a) “order payment of the

 reasonable expenses, including attorney’s fees, caused by the failure;” b) “inform the jury

 of the party’s failure;” or c) “impose other appropriate sanctions” after giving the party

 against whom sanctions were sought an opportunity to be heard. Fed R. Civ. P. 37(c)(1).

        Mr. Kennedy’s October 9, 2017, response to Interrogatory 4 of “Plaintiffs’

 Interrogatories for Dochtor Kennedy” was a lie. He claimed he had never created a Ripoff

 Report account. Undisputed evidence proves he created a Ripoff Report account while

 posing as Patrick Erickson at approximately 8:21 p.m. Colorado time on November 2,

 2016, at his residence of record. He then used that account to publish Ripoff Report

 1336305 sometime between 8:23 p.m. and 8:25 p.m. Mr. Kennedy never corrected his

 response to Interrogatory 4. His failure to correct his false response to Interrogatory 4

 violated Rule 26(e)(1)(A).

        AdvisorLaw LLC produced two discovery responses on February 6, 2018, that Mr.

 Kennedy and AdvisorLaw LLC knew contained lies. AdvisorLaw did not correct these

 false responses.

        The Defendants’ unjustifiable Rule 26(g)(1)(B)(ii) violations harmed the Plaintiffs

 by causing them to needlessly waste litigation resources after October 9, 2017; to search

 for additional forensics evidence to prove facts the Defendants were lying; to prepare or




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 respond to discovery requests; and communicate with the Defendants’ counsel about

 discovery issues related to who published Ripoff Report 1336305.

        Since the Defendants’ conduct was unjustifiable and it harmed the Plaintiffs, Rule

 37(c)(1) requires this Court to sanction the Defendants for violating Rule 26(e)(1)(A).

 V.     CONCLUSION AND RELIEF SOUGHT

        The Defendants’ misconduct requires sanctions. Severe sanctions, including

 alternative sanctions, are warranted. The Plaintiffs move the Court to sanction the

 Defendants in the following ways:

        (1) find that Mr. Kennedy and AdvisorLaw LLC published Ripoff Report 1336305;

        (2) find that Jason Bacher did not publish Ripoff Report 1336305;

        (3) order AdvisorLaw LLC to send XCentric Ventures, LLC, the Arizona company

           that owns and controls the Ripoff Report website, a letter containing a copy of

           the Court’s forthcoming order that asks XCentric Ventures, LLC to

           permanently delete Ripoff Report 1336305 from the Ripoff Report website to

           prevent Mr. Wilson and Wilson Law Ltd. from suffering further reputational

           harm and prevent more consumers from being deceived by Ripoff Report

           1336305’s false statements;

        (4) order Mr. Kennedy to submit a copy of this Court’s forthcoming order to the

           Colorado Office of the Attorney Regulation Counsel within thirty days; and




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       (5) order Mr. Kennedy and AdvisorLaw LLC to pay all the Plaintiffs’ reasonable

          attorneys’ fees for discovery matters and reasonable discovery litigation costs

          since October 9, 2017.

       Dated March 12, 2018                   s/ Edward C. Hopkins Jr.
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                                              s/ Alexandra Tracy-Ramirez
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                              CERTIFICATE OF SERVICE

        I hereby certify that on March 12, 2018, I electronically filed the foregoing with the

 Clerk of Court using the CM/ECF system which will send notification of filing to the

 following recipients:

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